                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                        Case No. 21-mc-49 (MJD/DTS)

        Plaintiff,

v.                                               ORDER ON SECOND
                                                 EXTENSION OF
1. Assorted Various Currencies                   FILING DEADLINE
Seized on December 15, 2020;

2. Miscellaneous Puff Bars/Vape Cigarette
Seized on December 15, 2020; and

3. Twenty Miscellaneous Pieces
of Electronic Equipment Seized
on December 15, 2020,

        Defendants.


        Based on the second Stipulation to Extend Time to Commence Judicial Forfeiture

Proceedings between the United States of America and Anton Lazzaro with respect to

the following property that was seized from Anton Lazzaro on or about December 15,

2020:

        1) $371,240 in U.S. Currency;

        2) 5,150 Euros;

        3) 14,000 Japanese Yen;

        4) 245 in UAE Dirham Currency;

        5) 1,330 Hong Kong Chinese Currency;

        6) 20 Canadian Dollars;

        7) 1,100 Jamaican Dollars;

        8) Miscellaneous puff bars/vape cigarette; and
      9) Twenty miscellaneous pieces of electronic equipment, including:

        a.   a Windows Surface Tablet;
        b.   a gray/black Blackberry;
        c.   a black iPhone;
        d.   a TCL cellphone;
        e.   a Xioamoi cellphone;
        f.   2 thumb drives;
        g.   14 SD cards
        h.   2 thumb drives
        i.   a silver Dell XPS laptop;
        j.   Inspiron Dell laptop
        k.   a gray/black Motorola cellphone;
        l.   a white/black Motorola cellphone;
        m.   an LG cellphone;
        n.   an Apple iPhone SE;
        o.   an LG cellphone;
        p.   a black/silver Apple iPhone;
        q.   a Bittium cellphone;
        r.   a GPS tracker;
        s.   a Blackberry phone with 32GB SD card; and
        t.   a Windows Surface Tablet with charging cord,

      IT IS HEREBY ORDERED: the deadline under 18 U.S.C. § 983(a)(3) for

commencing judicial forfeiture proceedings against the above-described seized property

is extended until September 10, 2021.


Dated: August 11, 2021                        ___s/David T. Schultz______
                                              DAVID T. SCHULTZ
                                              U.S. Magistrate Judge




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